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IN THE UNITED sTATEs DISTRlCT COURT ‘"B BY-~ ~"~-M
WESTERN DISTRICT oF TENNESSEE ‘
WESTERN DIVISION 05 mg "3 m 2’ 25
degrees
sUSAN T. ROWE, § wo; m MEM
Plaintifr, )
vs ) ease No. 2:05-Cv-02394 “ )WL
)
ADT SECURITY sERvICES, INC., and )
TYCO INTERNATIONAL (US), INC., )
)
Defendants. )

 

AGREED RULE 16(B) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates are
established as the flnal dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): 011 or before August 24, 2005.

JOINING PARTIES:
for Plaintiff: On or before October 7 , 2005.
for Defendant: On or before November 8, 2005.
AMENDING PLEADINGS:
for Plaintiff: 011 or before October 7, 2005.
for Defendant: On or before November 8, 2005.

COMPLETING ALL DISCOVERY: On or before April 7, 2006.

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and
REQUESTS FOR ADMISSIONS: 011 or before April 7, 2006.

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: On or before February 7, 2006.
(ii) Defendant’s Experts: On or before March 7, 2006.

Th¥s document entered on the docket sheet tn compliance
with Ru|e 58 and/or 79(a) FRCP on

 

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(iii) Supplernentation under Rule 26(e): On or before March 17, 2006.

(c) DEPOSITIONS 0F EXPERTS: On or before April 7, 2006 unless
a later date is authorized by the
Court due to special circumstances

FILING DISPOSITIVE MOTIONS: 011 or before May 5, 2006.
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: 45 days before trial.
(b) for Defendant: 30 days before trial.

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 3 days. The presiding judge will set this matter
for JURY TRIAL. In the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

O'I`HER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be Submitted at least 30 days prior to the deadline for completion of
discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional repIy, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a

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continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discovery.

This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDERED.

£//Z;m~r@

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: l(jqd' 05 amf
ED FOR ENTRY;

   
   

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02394 was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

